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IN THE UNITED sTATEs DISTRICT CoURT 545/g \

 

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FoR THE WESTERN DISTRICT oF TENNESSEE `_ 30 45 'O-
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KIMBERLY cRUSE, g 1571 'W
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Plaintiff, §
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SECURITY, q
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Defendant. §
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ORDER TO SHOW CAUSE

 

Plaintiff filed this action on December 27,2004. Summonses were issued on that
same date. However, the record does not reflect that any attempt has been made to serve
Det`endant with process1 Plaintiff is hereby ORDERED to provide to the court within
twenty (2()) days of the entry of this order an explanation as to why Defendant has not been

served with process and to SHOW CAUSE why the action should not be dismissed

 

l Plaintiff’ s motion to proceed in forma pauperis was granted on April 8, 2005.

This document entered on the docket sheet |n compliance
with Flufe 58 and-'or 79 (a) F}'-ICP on

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Failure to respond will result in the dismissal of the action. § Fed. R. Civ. P. 41 (b).

IT lS SO ORDERED.

JA ES D. TODD
TED STATES DISTRICT IUDGE

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DISTRICT C URT wEsTER D"ISRICT oF TNNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 5 in
case 1:04-CV-01341 was distributed by faX, mail, or direct printing on
August 31, 2005 to the parties listed.

 

 

.loe H. Byrd

BYRD DONAHOE & BYRD
P.O. Box 2764

Jackson, TN 3830]--276

Honorable .l ames Todd
US DISTRICT COURT

